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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

 LAW FIRM OF BRIAN W. HOFMEISTER, LLC
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 Princeton, New Jersey 08648
 (609) 890-1500
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 bwh@hofmeisterfirm.com
 Attorneys for Barry W. Frost, Chapter 7 Trustee
 In Re:                                                   Case No.: 18-18328

 BRICK DENTAL GROUP PROFESSIONAL CORP.                    Chapter 7

                                                          Judge: KCF


NOTICE OF MOTION SEEKING ENTRY OF AN ORDER: (A) APPROVING THE PRIVATE
  SALE OF THE DEBTOR’S DENTAL PRACTICE AND BUSINESS ASSETS FREE AND
   CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES; AND (B) VOIDING AN
       UNAUTHORIZED POST-PETITION SALE OF THE DEBTOR’S ASSETS

Martha Hildebrandt, Esq.                            Daniel M. Stolz, Esq.
United States Trustee’s Office                      Wasserman Jurista & Stolz
One Newark Center                                   110 Allen Road, Suite 304
Suite 2100                                          Basking Ridge, NJ 07920
Newark, NJ 07102
                                                    Rebecca K. McDowell, Esq.
John Michael McDonnell, Esq.                        Saldutti Law Group
McDonnell Crowley                                   800 North Kings Highway, Suite 300
115 Maple Ave., Suite 201                           Cherry Hill, NJ 08034
Red Bank, NJ 07701
                                                    Dental Recovery Solutions 360, LLC
Brick Dental Group Professional Corp.               Attn: James R. Chaffin, D.D.S.
589 Westwood Ave.                                   8284 W. Union Hills Drive
Long Branch, NJ 07740                               Glendale, AZ 85308

Abdul Q. Arif, Esq.                                 Internal Revenue Service
401 East 1st Street                                 Attn: Special Procedures
Wichita, KS 67216                                   955 South Springfield Ave.
                                                    Bldg. A., 3rd Floor
                                                    Springfield, NJ 07081
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US Attorney General
970 Broad Street, Room 700
Newark, NJ 07102

Internal Revenue Service
2970 Market Street
Philadelphia, PA 19104-5016

State of New Jersey
Division of Taxation
Bankruptcy Section
50 Barrack Street, 1st Floor
Trenton, NJ 08646

State of New Jersey
Office of the Attorney General
Richard J. Hughes Justice Complex
8th Floor, West Wing
25 Market Street
Trenton, NJ 08625- 0080



       PLEASE TAKE NOTICE that the undersigned, attorneys for Barry W. Frost, Chapter 7 Trustee

for the Debtor Estate of Brick Dental Group Professional Corp. ("Trustee") herein, shall appear before the

Honorable Kathryn C. Ferguson, Judge, United States Bankruptcy Court, 402 East State Street, Trenton,

New Jersey, on the 12th day of June, 2018 at 11:00 in the forenoon, or as soon thereafter as counsel may

be heard and shall apply for an Order: (A) Approving the Private Sale of the Debtor’s Dental Practice and

Business Assets Free and Clear of All Liens, Claims and Encumbrances and; (B) Voiding An Unauthorized

Post-Petition Sale of the Debtor’s Assets.

       YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may

wish to consult one).

       PLEASE TAKE FURTHER NOTICE that, if you do not want the Court to enter an Order, or

if you want the Court to consider your views on this Motion, then on or before June 5, 2018, you or your
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attorney must:

       File, with the Court, a written objection to this Motion, explaining your position to the Clerk,

United States Bankruptcy Court, 402 East State Street, Trenton, New Jersey 08608;

       If you mail your response to the Court for filing, you must mail it early enough so the Court will

receive it on or before June 5, 2018. You must also serve a copy upon Brian W. Hofmeister, Esq., Law

Firm of Brian W. Hofmeister, LLC, 3131 Princeton Pike, Building 5, Suite 110, Lawrenceville, New Jersey

08648; and

       You must attend the hearing scheduled to be held on June 12, 2018 at 10:00 a.m. at 402 East State

Street, Trenton, New Jersey.

       PLEASE TAKE FURTHER NOTICE that if you or your attorney do not take these steps, the

Court may decide that you do not oppose the relief sought in this Motion and may enter an order granting

the relief requested.

       PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the annexed

Application. In addition, if objections are submitted, the undersigned will be appearing for oral argument

at the hearing.

       PLEASE TAKE FURTHER NOTICE that the within Motion requests that the Court enter an

Order: (A) Approving the Private Sale of the Debtor’s Dental Practice and Business Assets Free and Clear

of All Liens, Claims and Encumbrances and; (B) Voiding An Unauthorized Post-Petition Sale of the

Debtor’s Assets, and said Motion is based largely on the facts as outlined in the Application in support of

the within Motion and the Application submitted herewith.


                                      LAW FIRM OF BRIAN W. HOFMEISTER, LLC
                                      Attorneys for Barry W. Frost, Chapter 7 Trustee for the Debtor
                                      Estate of Brick Dental Group Professional Corp.

                               BY:    /s/Brian W. Hofmeister
                                      Brian W. Hofmeister
Dated: May 10, 2018
